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     Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
     WEISSLAW LLP
 2 9100 Wilshire Boulevard #725 E.
     Beverly Hills, CA 90210
 3 Telephone: 310/208-2800
     Facsimile: 310/209-2348
 4
     Attorneys for Plaintiff
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 7

 8                         UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
       STEPHEN BUSHANSKY,            ) Case No. 8:20-cv-02345-CJC-KES
12                                   )
                                     )
13                Plaintiff,         )
                                     ) NOTICE OF VOLUNTARY
14                                   ) DISMISSAL
                  vs.                )
15                                   )
       FOUNDATION BUILDING           )
16                                   )
       MATERIALS, INC., RUBEN D.     )
17     MENDOZA, CHASE HAGIN, CHRIS )
       MEYER, RAFAEL A. COLORADO, )
18                                   )
       MATTHEW J. ESPE, FAREED A.    )
19     KHAN, CHAD R. LEWIS, JAMES F. )
       UNDERHILL, and MAUREEN        )
20                                   )
       HARRELL,                      )
21                                   )
                        Defendants.  )
22

23         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
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     41(a)(1)(A)(i), plaintiff Stephen Bushansky (“Plaintiff”) voluntarily dismisses the
25
     claims in the captioned action (the “Action”) with prejudice. Because this notice of
26

27 dismissal is being filed with the Court before service by defendants of either an answer

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                           NOTICE OF VOLUNTARY DISMISSAL
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 1
     or a motion for summary judgment, Plaintiff’s dismissal of the Action is effective upon

 2 the filing of this notice.

 3

 4    Dated: December 31, 2020                   WEISSLAW LLP
 5                                               Joel E. Elkins
 6                                               By: _______________________
 7
                                                 Joel E. Elkins
 8                                               9100 Wilshire Boulevard #725 E.
                                                 Beverly Hills, CA 90210
 9
                                                 Telephone: 310/208-2800
10                                               Facsimile: 310/209-2348
                                                        -and-
11
                                                 Richard A. Acocelli
12                                               1500 Broadway, 16th Floor
                                                 New York, NY 10036
13
                                                 Telephone: 212/682-3025
14                                               Facsimile: 212/682-3010
15
                                                 Attorneys for Plaintiff
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                           NOTICE OF VOLUNTARY DISMISSAL
